Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7728 Page 1 of 7



   1   MARK POE (Bar No. 223714)             SEAN M. REAGAN (pro hac vice)
        mpoe@gawpoe.com                      Leyh, Payne & Mallia, PPC
   2   RANDOLPH GAW (Bar No. 223718)         sreagan@lpmfirm.com
   3    rgaw@gawpoe.com                      9545 Katy Freeway, Suite 200
       SAMUEL SONG (Bar No. 245007)          Houston, Texas 77024
   4    ssong@gawpoe.com                     Telephone: (713) 785-0881
       VICTOR MENG (Bar No. 254102)          Facsimile: (713) 784-0338
   5    vmeng@gawpoe.com
   6
       GAW | POE LLP                         MICHAEL R. DUFOUR (No. 290981)
       4 Embarcadero, Suite 1400             mrd@dufourlawfirm.com
   7   San Francisco, CA 94111               8675 Falmouth Ave., Suite 307
       Telephone: (415) 766-7451             Playa Del Rey, California 90293
   8   Facsimile: (415) 737-0642             Telephone: (213) 200-9809
                                             Facsimile: (424) 389-7236
   9   Counsel for the Stores
  10                                         Counsel for Outlaw Laboratory, LP,
                                             Michael Wear and Shawn Lynch
  11

  12                       UNITED STATES DISTRICT COURT
  13                     SOUTHERN DISTRICT OF CALIFORNIA
  14

  15   IN RE: OUTLAW LABORATORY,             Case No. 3:18-cv-840-GPC-BGS
       LP LITIGATION
  16
                                             THE STORES’ AND OUTLAW’S
  17                                         JOINT SUPPLEMENTAL
                                             RESPONSE RE: DIAZ NOTICE
  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28
                                                            JOINT SUPP. RE: DIAZ NOTICE
                                                           CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7729 Page 2 of 7



   1         Pursuant to the Court’s Order Denying Motion for Permanent Injunction and
   2   Ordering Production of Settlement Agreement (hereafter “Order) (ECF No. 290), the
   3   Stores, Michael Wear, Shawn Lynch, and Outlaw Laboratory (the latter three
   4   hereafter referred to as “Outlaw”) submit their joint response regarding whether they
   5   must give notice of their settlement to absent class members under Diaz v. Trust
   6   Territory of Pacific Islands, 876 F.2d 1401 (9th Cir. 1989).
   7         As an initial matter, the Court already noted the fact that “settlements made
   8   before a class is certified are not governed by Rule 23.” Order at 9. Thus, the Court
   9   ordered supplemental briefing as to whether the “settlement passes muster under
  10   Diaz.” Order at 12. Presumably the phrase “passes muster” was meant only to refer
  11   to whether notice of the settlement is required, not whether or not the Court will
  12   approve the settlement. See Diaz, 876 F.2d at 1408 (recognizing, even before the
  13   current version of Rule 23(e), that “[i]n no pre-certification dismissal would the court
  14   reject the dismissal and require anything more than notice to the class and an
  15   opportunity to intervene.”).
  16         Nevertheless, the majority of Tauler Smith’s brief seeks to return to square
  17   one, asking that “the Court reject the Settlement Agreement between Outlaw and
  18   Counterclaimants[.]” 1 Tauler Smith Mem. at 7. If there is any power in a federal
  19   court to “reject” a pre-certification settlement between a class representative and a
  20   subset of the defendants, Tauler Smith does not identify what it is, and we are aware
  21   of none. Id. at 1-7.
  22         Furthermore, the Court has already found the first Diaz factor—whether absent
  23

  24         1
               Tauler Smith’s argument in this respect seems to be based on a reading of the
       settlement under which the reference to the agreement having “resolve[d] all dealings
  25   of the Parties,” means that the absent class members’ potential claims against Outlaw
  26   have also been released. Mem. at 2-3. But “Parties” is a defined term that includes
       only Outlaw and Gaw | Poe’s store clients. Settlement at 1. And as the Stores have
  27   noted numerous times, they have no power to release claims of absent class members
       even if they wanted to.
  28
                                                                      JOINT SUPP. RE: DIAZ NOTICE
                                                   1                  CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7730 Page 3 of 7



   1   members have been relying on the claims against Outlaw per se (rather than merely
   2   reliant on Skyline Market and class counsel to pursue these claims against the law
   3   firm that took their money)—to be “neutral.” Order at 10. And it found the second
   4   factor—“lack of adequate time for class members to file other actions”—to weigh
   5   against requiring notice. Id. at 11. Thus, Outlaw and the Stores understand the
   6   supplemental briefing to be intended to address the third Diaz factor—inquiring
   7   whether “the parties have [ ] compromised the class claim to the pecuniary advantage
   8   of the plaintiff and/or his attorney.” Id. at 11 (quoting Del Rio v. CreditAnswers,
   9   LLC, No. 10-CV-346-WQH, 2011 WL 1869881, at *3 (S.D. Cal. May 16, 2011)).
  10         As a starting point, this articulation of the third Diaz factor from the
  11   unpublished Del Rio opinion is imprecise.        The third factor from Diaz is actually
  12   “into possible prejudice from . . . (3) any settlement or concession of class interests
  13   made by the class representative or counsel in order to further their own interests.”
  14   876 F.2d at 1408 (emphasis added). Here, the absent class members will not suffer
  15   any “possible prejudice,” id., because their claims against Outlaw remain
  16   independently viable, should anyone choose to pursue them. And as to whether the
  17   settlement “further[s] their [i.e., the class representative or counsel’s] own interests,”
  18   id., the monetary component of the Outlaw settlement was payable only “to Gaw
  19   Poe’s IOLTA,” (Settlement at I.2.), and as the Stores’ counsel has already
  20   demonstrated to Tauler Smith’s counsel in meet-and-confer correspondence, the
  21   entire amount remains there. Decl. of Mark Poe ¶ 2, Ex. A. As the Stores’ counsel
  22   has further explained to Tauler Smith, “the first priority for the funds is to cover the
  23   costs of the litigation, to include class notice and trial.” Id. Ex. A at 2. As the Stores
  24   stated in other correspondence in response to Tauler Smith’s same inquiries:
  25         We fully expect that all of these proceeds will be used to cover the out‐
  26         of‐pocket costs of this litigation and the costs of class notice. We doubt
             there will be anything left once those costs are paid for, but if there is
  27         any residue, its distribution will be a matter for ourselves and the
  28         counterclaimant/third‐party plaintiffs to decide.
                                                                     JOINT SUPP. RE: DIAZ NOTICE
                                                    2                CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7731 Page 4 of 7



   1   Sergenian Decl. Ex. C at 1.
   2         By using the settlement funds for litigation costs, notice, and trial, the plan for
   3   the proceeds is not “prejudic[ial]” to the absent members of the class. Diaz, 876 F.2d
   4   at 1408. Rather, the proceeds are unquestionably to be used to pursue the interests
   5   of the absent class members, in obtaining relief from the law firm that took their
   6   money. Cf. ECF No. 272-17 (Wear Decl. ¶ 9 (attesting that Outlaw itself “received
   7   a total of only approximately $120,000 in settlements from retail stores.”)).
   8         Beyond bizarrely adding $100,000 to the actual settlement amount without
   9   explanation (see Mem. at 5:17, 6 n.6), Tauler Smith seems to believe that the amount
  10   of the monetary settlement will far exceed the litigation costs, thereby “enriching
  11   Gaw Poe with what is essentially a self-administered award of fees.” Mem. at 5
  12   (emphasis added). If that is Tauler Smith’s sincere belief, it is only based on a lack
  13   of actual trial experience, or at least a lack of experience in conducting a proper trial
  14   (let alone experience with the cost of class notice). The Court has overseen a number
  15   of class actions and an untold number of well-conducted trials, so will know from its
  16   own experience that once the cost of an expert witness, class notice, 2 a trial tech,
  17   printing, travel, and lodging and meals are factored in, it is unlikely that any amount
  18   of the Outlaw settlement will remain.
  19         In any event, Tauler Smith contends that it is “enriching” for the Stores’
  20   counsel to have their out-of-pocket costs covered, and directs the Court to the Stores’
  21   engagement agreement with Skyline Market to contend that class counsel “‘is
  22   contractually obligated to pay [costs] out of its own pocket.’” Mem. at 5 (quoting
  23   Sergenian Decl. Ex. D at 2). This is a baldly incorrect reading of the costs language
  24   of the engagement. It very clearly reads “we will pay these costs for you, and will
  25

  26         2
              As a benchmark, the cost of mailing the demand letters to the (unidentified,
  27   and unknown number of) recipients was at least $162,722. See Poe Decl. ¶ 3, Ex.
       B.
  28
                                                                     JOINT SUPP. RE: DIAZ NOTICE
                                                    3               CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7732 Page 5 of 7



   1   only be entitled to reimbursement of our out-of-pocket expenses if money is recovered
   2   for the class we envision, through settlement or judgment.” Id. (emphasis added).
   3   The Stores’ counsel have diligently recovered money “through settlement” with
   4   Outlaw, and thus are entitled to use it as “reimbursement of our out-of-pocket costs.”
   5   In any event, even if Tauler Smith’s argument in this regard were not based on a
   6   frivolous interpretation of the engagement agreement, it is hard to imagine that Tauler
   7   Smith is genuinely concerned about the well-being of the store owners whom it
   8   defrauded for money.
   9           Finally, with respect to Tauler Smith’s “alternative” request that the Court
  10   “require notice to absent class members,” Mem. at 7, it fails to mention the
  11   monumental obstacle to that plan: As set out in the Stores’ motion for class
  12   certification, both Outlaw and Tauler Smith profess that they do not know the
  13   identities of the class members. See ECF No. 179-1 at 25. While the declarations of
  14   Mr. Wear and Mr. Lynch make this a far more credible assertion for them to make—
  15   since Tauler Smith did not provide them with a list of the demand letter recipients,
  16   “final copies of each settlement after both parties had signed,” or “a full accounting
  17   showing how much [money] was taken in,” ECF No. 272-17 (Wear Decl. ¶¶ 6, 9)—
  18   Tauler Smith simply refuses to identify the recipients of the Demand Letters it
  19   mailed, and the identities of the unknown number of Payment Class members who
  20   wired money to Tauler Smith’s bank account. See Stores’ Mot for Sanctions and
  21   Further Order Compelling Document Production and Interrogatory Responses by
  22   Tauler Smith at 12-14 (ECF No. 269).3 Tauler Smith does not propose how class
  23   counsel should go about giving notice to entities that Tauler Smith itself steadfastly
  24   refuses to identify. But that is of little consequence at this immediate juncture, since
  25   as explained above, the need for notice isn’t indicated by the three Diaz factors in the
  26   first place.
  27
              3
                  This motion remains pending.
  28
                                                                    JOINT SUPP. RE: DIAZ NOTICE
                                                   4                CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7733 Page 6 of 7



   1                                    CONCLUSION
   2         Because notice is not indicated by the Diaz factors, because there is no
   3   practical means of giving notice to the absent class members, and because the cost of
   4   notice would only deplete the resources with which class counsel intend to pursue
   5   the absent members’ claims against Tauler Smith, no notice should be ordered.
   6

   7     Dated: October 8, 2020                GAW | POE LLP
   8

   9                                           By:    s/ Mark Poe
                                                      Mark Poe
  10                                                  Counsel for the Stores
  11

  12     Dated: October 8, 2020                LEYH, PAYNE & MALLIA, PLLC
  13                                           By: /s/ Sean Reagan
  14                                              Sean M. Reagan
                                                  Counsel for Outlaw, Mr. Lynch, Mr.
  15                                              Wear
  16                                                                                       C
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28
                                                                  JOINT SUPP. RE: DIAZ NOTICE
                                                  5              CASE NO. 3:18-CV-840-GPC-BGS
Case 3:18-cv-00840-GPC-BGS Document 308 Filed 10/08/20 PageID.7734 Page 7 of 7



   1                            CERTIFICATE OF SERVICE
   2                            Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on the date stamped in the header above, I filed
   4   the following documents with the Clerk of the Court using CM/ECF. I also certify
   5   that the foregoing document is being served this day either by Notice of Electronic
   6   Filing generated by CM/ECF or by U.S. mail on all counsel of record entitled to
   7   receive service.
   8
         THE STORES’ AND OUTLAW’S JOINT SUPPLEMENTAL
   9     RESPONSE RE: DIAZ NOTICE
  10

  11
                                                     GAW | POE LLP
  12

  13

  14                                                 By:   s/ Mark Poe
                                                           Mark Poe
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28

                                                 1                          CERT. OF SERVICE
